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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

Lantern Maritime Company,                           §
                                                    §
       Plaintiff,                                   §
                                                    §   CIVIL ACTION NO.: 19cv3385
vs.                                                 §
                                                    §   IN ADMIRALTY, Rule 9(h)
Chembulk Trading II, LLC, et al.,                   §
                                                    §
       Defendants and Garnishees.                   §

                                NOTICE OF DISMISSAL OF
                                 CERTAIN GARNISHEES

       Plaintiff Lantern Maritime Company, pursuant to Fed. R. Civ. P. 41, hereby dismisses the

following Garnishees from this this action:

       BP Amoco Chemical Company

       BP Amoco Corporation

       Chevron Phillips Chemical Company LP

       Covestro LLC

Defendants and all other Garnishees are not dismissed.

Dated: October 22, 2019.
                                              /s/ J. Stephen Simms
                                              J. Stephen Simms (admitted pro hac vice)
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